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                         EXHIBIT 4
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                                                                                     Secretary
                                                                                     U.S. Department of Homeland Security
                                                                                     Washington, DC 20528


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                                                                                     Security
                                             May 22, 2025

Maureen Martin
School Code: BOS214F00162000
Harvard University
c/o Harvard International Office
1350 Massachusetts Ave., Rm. 864
Cambridge, MA 0213 8
Maureen_Martin@Harvard.edu

                Harvard's Student and Exchange Visitor Program Decertification

      I am writing to inform you that effective immediately, Harvard University's Student and
Exchange Visitor Program certification is revoked.

        As I explained to you in my April letter, it is a privilege to enroll foreign students, and it is
also a privilege to employ aliens on campus. All universities must comply with Department of
Homeland Security requirements, including reporting requirements under the Student and Exchange
Visitor Program regulations, to maintain this privilege. As a result of your refusal to comply with
multiple requests to provide the Department of Homeland Security pertinent information while
perpetuating an unsafe campus environment that is hostile to Jewish students, promotes pro-Hamas
sympathies, and employs racist "diversity, equity, and inclusion" policies, you have lost this
privilege.

        The revocation of your Student and Exchange Visitor Program certification means that
Harvard is prohibited from having any aliens on F- or J- nonimmigrant status for the 2025-2026
academic school year. This decertification also means that existing aliens on F- or J- nonimmigrant
status must transfer to another university in order to maintain their nonimmigrant status.

      This action should not surprise you and is the unfortunate result of Harvard's failure to
comply with simple reporting requirements.

        On April 16, 2025, I requested records pertaining to nonimmigrant students enrolled at
Harvard University, including information regarding misconduct and other offenses that would
render foreign students inadmissible or removable. On April 30, 2025, Harvard's counsel provided
information that he represented as responsive to my request. It was not.

       As a courtesy that Harvard was not legally entitled to, the Acting DHS General Counsel
responded on my behalf and afforded Harvard another opportunity to comply. Harvard again
provided an insufficient response.

        Consequences must follow to send a clear signal to Harvard and all universities that want to
enjoy the privilege of enrolling foreign students, that the Trump Administration will enforce the law
and root out the evils of anti-Americanism and antisemitism in society and campuses.
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        IfHarvard would like the opportunity ofregaining Student and Exchange Visitor Program
certification before the upcoming academic school year, you must provide all of the information
requested below within 72 hours.

        Please be advised that providing materially false, fictitious, or fraudulent information may
subject you to criminal prosecution under 18 U.S.C. § 1001. Other criminal and civil sanctions may
also apply.

          I expect full and complete responses to the following requests:

 1. Any and all records, whether official or informal, in the possession ofHarvard University,
    including electronic records and audio or video footage, regarding illegal activity whether on or
    off campus, by a nonimmigrant student enrolled in Harvard University in the last five years.

2. Any and all records, whether official or informal, in the possession ofHarvard University,
   including electronic records and audio or video footage, regarding dangerous or violent activity
   whether on or off campus, by a nonimmigrant student enrolled in Harvard University in the last
   five years.

3. Any and all records, whether official or informal, in the possession ofHarvard University,
   including electronic records and audio or video footage, regarding threats to other students or
   university personnel whether on or off campus, by a nonimmigrant student enrolled in Harvard
   University in the last five years.

4. Any and all records, whether official or informal, in the possession ofHarvard University,
   including electronic records and audio or video footage, regarding deprivation ofrights ofother
   classmates or university personnel whether on or off campus, by a nonimmigrant student
   enrolled in Harvard University in the last five years.

5. Any and all disciplinary records ofall nonimmigrant students enrolled in Harvard University in
   the last five years.

6. Any and all audio or video footage, in the possession ofHarvard University, ofany protest activity
   involving a nonimmigrant student on a Harvard University campus in the last five years.


                                                      Sincerely,




                                                                     omeland Security


cc:    Steve Bunnell
       Raj Ferber, PLLC
       1629 K Street NW, Suite 300
       Washington, DC 20006
